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                                                                           Page 1
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION
   LA UNIÓN DEL PUEBLO ENTERO,            *
   et al.,                                *
                                          *
                       Plaintiffs,        *
                                          * Civil Action
              v.                          *     No. 5 : 2 1 - c v - 844 (XR)
                                          * ( Con soli date d     Cases)
   STATE OF TEXAS, et al.,                *
                                          *
                       Defendants.        *


     ________________________________________________________


                            ORAL DEPOSITION OF


                              JONATHAN        WHITE


                              August 11, 2023


    ________________________________________________________



                ORAL    DEPOSITION   of   JONATHAN      WHITE,    produced     as
   a witness at the instance of Defendant The United
   States, duly sworn,       was taken in the a b o v e - styled         and
   numbered cause on the 11th day of August, 2023 from 9:20
   a.m. to 1:00 p.m., before Lydia L. Edwards, CSR in and
   for the State of Texas by machine shorthand, at the
   Office of the Attorney General, 209 West 14th Street, in
   the City of Austin, County of Travis, State of Texas,
   pursuant to the Federal Rules of Civil Procedure and any
   provisions stated on the record or attached hereto.
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                                                                     Page 17
1    being provided to us.        And as we stated before, the

2    protocol would be for Criminal Investigations to receive

3    a complaint and to then investigate it, you know, to do

4    some preliminary investigation, determine whether it

5    requires a full investigation, or merits one, and then

6    to investigate from there.

7                      So the list - - I assume, you know, there's

8    a list that exists, but typically our practice was not

9    to proactively go out, seek information or data and then

10   initiate investigations based on that.            We would

11   typically wait for a complaint.

12       Q.     S o yo u d o no t personall y revie w al l complaints

13   tha t com e in?

14       A.     I di d not.

15       Q.     Under what circumstances would a complaint be

16   brought to your attention?

17       A.     Generally if it's something going forward on, I

18   would get looped in at some point, and that could be

19   early in the process or it could be a little later once

20   the investigation had already begun and perhaps the

21   investigator had questions.

22       Q.     What steps do investigators take to review

23   complaints?

24       A.     At the outset, evaluating - - making an initial

25   evaluation of a complaint would involve just a review of
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                                                                      Page 18
1    the allegation itself, if there was any evidence


2    provided, thinking through the allegation based on our

3    experience and our knowledge of election crimes to see

4    if it even - - if the allegation even makes sense.                    Of

5    course, we would see if there's even a criminal

6    allegation that's alleged on the surface of the

7    complaint before - - as a preliminary step before we

8    would move forward.

9         Q.    An d thos e investigator s wer e no t supervise d by

     you , correct?

          A.      No , no t - - the y wer e no t i n m y chai n o f command

     becaus e th e electio n frau d uni t - - o r Electio n Integrity

     Uni t tha t investigate d thes e crime s repor t t o law

     enforcemen t u p thei r chain.          An d they'r e par t o f the

     Crimina l Investigation s Division , an d I wa s in

     Prosecution.       S o I di d no t hav e direc t supervisory

     authorit y ove r thos e folks.            I t wa s mor e o f a

     k n ow l ed ge - base d an d sor t o f a g o od w il l -based

     relationship.

20        Q.      So there were complaints that would come in

21   that would not be brought to your attention?

          A.      That' s probabl y true.

          Q.      I s tha t probabl y tru e o r d o yo u kno w i t t o be

     tru e tha t ther e woul d b e certai n complaint s tha t you

     woul d no t b e mad e awar e o f becaus e the y woul d be
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                                                                     Page 19
     resolve d b y thi s othe r unit?

         A.     I mean , I' m prett y sur e tha t that' s true

     becaus e i f ther e wa s a complain t tha t didn' t require

     furthe r investigatio n - - tha t didn' t meri t investigation

     it' s unlikel y tha t tha t woul d b e brough t t o my

     attention.

7        Q.     And that determination would be made by someone

8    else?

9        A.     Correct.     And if I could add to that, you know,

10   the procedures in the early days were more - - it was

11   more bifurcated where it was just Criminal

12   Investigations would take a complaint, review it, do an

13   investigation, then bring it to the prosecutor.                 We

14   tried to integrate that more as time went on because we

15   found that it built better cases.           So there was some

16   variance in how that took place over time, but I would

17   see more and more complaints as time went on.

18       Q.     And what was the turning point for that?

19       A.     It was just - - it was just an effort to build

20   better cases by getting, you know, prosecutors involved

21   earlier in the process to evaluate the complaint and to

22   make suggestions based on what we would need to see

23   evidentiarially to be able to make a prosecutable case.

24       Q.     I'm sorry.     I meant what year - -

25       A.     Ah.
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                                                                     Page 20
1        Q.     - - did that change?

2        A.     Gradually occurred over time.

3        Q.     So the process was still bifurcated, but the

4    sort of informal collaboration depended on both the

5    nature of the complaint and, you know, the instincts for

6    collaboration over time?

7        A.     Exactly.

8        Q.     Throug h wha t mean s woul d yo u lear n abou t the

9    outcom e o f a n investigator' s efforts , lik e a memo , an

     email?

         A.     Generall y i t wa s o ne - on -on e conversations.     We

     share d a spac e - - a n offic e space , an d tha t wa s on e of

     th e effort s tha t w e ha d mad e t o sor t o f integrat e going

     forwar d t o produc e bette r investigation s an d hav e us

     wor k togethe r a s a cohesiv e uni t eve n thoug h w e wer e in

     tw o separat e divisions.       S o somebod y woul d com e si t down

     i n m y office.

18       Q.     Would an investigator write up their notes?

19       A.     Generally not.       They would write official

20   reports if - - if a case was completed and there was

21   probable cause that an offense occurred.

22       Q.     And so there would be no paper record of

23   investigations that occurred and were undertaken but did

24   not turn into prosecutions?

25                     MS. HUNKER:     Objection, form.
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                                                                      Page 21
1        A.      I wouldn't - - I wouldn't say no because, you

2    know, there's - - there could be an occasional email,

3    certainly, but most of those conversations took place in

4    person, sometimes over the phone.

5        Q.      (BY MS. PAIKOWSKY)        Did the investigation

6    process itself generate d ocume nts/pape rs/re co rds, like

7    emails/notes/reports?

8        A.      Occasionally.

9        Q.      An d wha t i s you r basi s fo r - - withdrawn.

                         Di d yo u personall y participat e i n those

     investigation s beyon d bein g appraise d abou t the m b y the

     investigators?

         A.      I f a cas e move d forwar d t o prosecution,

     generall y alway s yes.      Ther e woul d b e f o l lo w - up

     investigatio n b y m y tea m tha t wa s needed.

         Q.      I' m speakin g jus t a t th e investigatio n phase.

         A.      Yeah.

         Q.      Woul d yo u questio n witnesses , fo r example,

     befor e prosecutio n ha d bee n recommended?

         A.      No , generall y not.

21                       MS. PAIKOWSKY:     So I would like to mark

22   this as Exhibit 3.        I lost my exhibit stickers.

23                       (White Exhibit No. 3 marked.)

24       Q.      (BY MS. PAIKOWSKY)        Do you recognize this

25   document?
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                                                                      Page 23
1           Q.      Do you recall what criteria you used to search

2    for documents in response to discovery requests in this

3    case?

4           A.      It has been a long time.        I want to say it's

5    probably been a year and a half or so.                 I - - really

6    don't.        I remember in the early stages the requests were

7    mainly about SB1 specific communications and things, and

8    then after that I really don't have much recollection.

9                         MS. HUNKER:      Counsel, there appears to be

10   c u t- off Bates numbers.         Do you happen to have it so I

11   can note it for my records?

12                        MS. PAIKOWSKY:      Can I give it to you at

13   the break?

14                        MS. HUNKER:      Yes.

                          MS . PAIKOWSKY:     Than k you.     S o I' m going

     t o mar k thi s documen t a s Exhibi t 4 an d pas s i t aroun d as

     well.

                          (Whit e Exhibi t No . 4 marked.)

            Q.      (B Y MS . PAIKOWSKY)    An d yo u don' t nee d t o read

     th e whol e thing.        I' d jus t lik e t o kno w d o yo u recognize

     wha t typ e o f documen t thi s is?

22          A.      Yes , ma'am.

23          Q.      Wha t i s it?

24          A.      Thi s i s a supplementa l investigatio n repor t on

25   top.        An d I' m no t sur e i f thi s whol e thin g i s a
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                                                                     Page 24
     supplementa l o r not , bu t it' s a n investigativ e report,

     generall y speaking.

          Q.    An d s o ther e woul d b e a primar y repor t in

     additio n t o thi s one?

          A.    Typically.      An d tha t ma y b e - - thi s i s - - oh,

     sorry.    Yo u go t th e stapl e i n th e r ig ht - han d corner.      I

     thin k th e documen t i s actuall y u p s id e -down.

          Q.    Oh , I' m sorry.

          A.    Yeah.     Thi s i s a n investigativ e repor t followed

     b y a supplementa l repor t perhaps.

          Q.    An d thi s i s a repor t tha t woul d b e create d to

     writ e u p a n investigation , correct?

13        A.    Correct.

14        Q.    An d thi s i s a documen t tha t yo u migh t review

     comin g fro m th e investigatio n division?

          A.    Correct.     I f thi s wa s referre d fo r prosecution,

     I woul d generall y se e thi s documen t a t som e poin t in

     time.

          Q.    An d s o thi s documen t woul d b e create d fo r all

     investigation s tha t ha d bee n authorize d t o mov e forward

     fro m a complain t int o a forma l investigatio n process ; is

     tha t correct?

                        MS . HUNKER:   Objection , form.

          A.    No , no t necessarily.      I t woul d b e - - thi s would

     b e complet e befor e w e receive d a prosecutio n referral.
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                                                                     Page 25
         Q.     (B Y MS . PAIKOWSKY)     S o investigation s tha t the

     investigatio n divisio n internall y di d no t warran t a

     prosecutio n recommendatio n migh t no t b e writte n u p in

     thi s wa y an d turne d ove r t o you ; i s tha t correct?

         A.     I t - - i t migh t be.   Bu t a situatio n wher e a

     cas e wa s referre d - - wher e a cas e wa s investigated

     preliminaril y an d didn' t tur n int o a ful l investigation

     woul d likel y no t hav e a complet e investigativ e report

     lik e thi s one.

10       Q.     But full investigations would have a report

11   like this one?

12       A.     I think typically they would.

13       Q.     And you would only receive it if it was turned

14   over to you from the other division because they thought

15   it warranted your attention?

16       A.     Correct.     I didn't have any direct access to

17   these documents.

         Q.     D o yo u - - ho w ofte n di d yo u receiv e documents

     lik e this?

         A.     An d I gues s I woul d receiv e a documen t like

     thi s o n th e completio n o f an y investigatio n tha t was

     referre d fo r prosecution.       An d th e number , I - - I' d be

     guessin g i f I trie d t o pu t a n averag e o n it , bu t i n the

     spreadshee t o f case s prosecuted , tha t woul d giv e yo u an

     ide a o f a t leas t th e case s tha t wer e abl e t o b e charged
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                                                                     Page 26
    i n court , ho w man y o f thos e I receive d ove r wha t period

    o f time.

         Q.      Di d yo u eve r receiv e a n investigatio n document

    lik e thi s an d decid e no t t o prosecute?

         A.      I' m sur e tha t happened , yes.

         Q.      D o yo u kno w abou t ho w ofte n tha t happened?

         A.     I don' t thin k I coul d pu t a numbe r o n it , but

    i t wasn' t infrequen t tha t a cas e wouldn' t b e abl e - -

    wouldn' t b e viabl e i n court.

         Q.     An d whe n yo u wer e undertakin g you r searc h for

    document s - - an d I kno w thi s wa s a lon g tim e ag o - - do

    yo u recal l lookin g fo r thes e kind s o f reports?

         A.      I don' t hav e a specifi c recollectio n o f that,

    bu t I coul d sa y tha t mos t o f th e tim e I wouldn' t retain

    copie s o f report s lik e this.      I migh t i f I ha d an

    investigatio n tha t proceede d forward , bu t typically

    thes e woul d sta y wit h th e Crimina l Investigations

    Division.

         Q.      Bu t i f i t turne d int o a prosecution , yo u would

    retai n thi s fo r you r records?

         A.      Ver y likel y I woul d hav e a cop y o f that.

         Q.      Ho w muc h o f a n investigativ e fil e come s t o your

    attention?      I s i t jus t thi s document , o r ar e ther e more?

         A.      I t woul d depen d o n th e case.   Bu t ther e could

    b e a repor t o r I migh t see , yo u know , electio n records
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                                                                     Page 27
     o r I migh t jus t verball y b e tol d abou t electio n records

     tha t wer e obtained.    I migh t b e tol d about , yo u know,

     witnes s interview s o r thing s tha t th e investigato r had

     learne d o r researched.      I t depend s o n wha t stag e I was

     havin g tha t interactio n wit h a n investigator.       It

     depend s o n whethe r i t wa s a cas e tha t ultimatel y was

     mad e o n th e investigatio n side , an d i t depend s on

     whethe r a cas e wa s actuall y p ro s ec u ti on -worth y an d then

     w e actuall y i n earnes t gathere d documents , performe d our

10   ow n investigatio n t o shor e u p fact s an d evidenc e and

11   whatnot.    S o i t varies.

12       Q.     So just so I understand - - and I'm going to

13   maybe refer to this as a p r e - prosecution investigation

14   file and a p r o se c ut i on -ready investigation file, so

15   something that is kind of presented to you with a

16   prosecution recommendation and something that's in the

17   preliminary stages.

18       A.     U h - huh.

19       Q.     So for a prosecution recommendation

20   investigation file, that would include this report and

21   potentially other evidence and things like that; is that

22   correct?

23       A.     It could.    It's - - it all depends on the

24   investigator really.

25       Q.     Ho w muc h tim e woul d yo u spen d reviewin g a file
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                                                                     Page 28
     tha t wa s presente d t o yo u as , yo u know , the

     investigatio n i s complet e an d we'r e read y t o move

     forwar d wit h th e prosecution?

         A.     I mean , onl y a s muc h a s I ha d to.

         Q.     Di d yo u rea d th e whol e thin g ever y tim e o r you

     coul d ge t a sense?

         A.     I didn' t alway s nee d t o rea d a n entire

     investigativ e repor t i f on e wa s provided.       I mean , a lot

     o f i t woul d b e base d o n th e conversatio n wit h th e - -

10   wit h th e investigato r s o I coul d cu t t o th e chase.

11   Especiall y i f th e investigato r wasn' t - - wasn' t that

12   goo d o f a writer , I migh t ge t th e informatio n ou t o f him

13   jus t vi a conversation.

14       Q.     Are there any documents or records that the

15   investigative unit would make when they closed an

16   investigation and did not refer it for prosecution?

17       A.     I'm not sure.

18       Q.     Were there any documents or records that your

19   office would create when a prosecution recommendation

20   file with an investigation would be presented to you and

21   you determined not to move forward with the prosecution,

22   so closing documents?

23       A.     Generally not.      Generally we would only open a

24   case if we had done significant work on that case on our

25   side that, you know, time needed to be billed to.                So - -
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                                                                     Page 29
 1   but, no, we didn't have a standard form or anything that

 2   we used to record presentations.

         Q.      S o whe n w e las t spoke , yo u mentione d tha t you

     usuall y supervise d case s an d no t prosecute d the m because

     yo u supervise d othe r attorneys.      I s tha t - - wa s that

     correct?

         A.      Yeah.   I mean , earl y i n m y caree r I wa s the

     lin e prosecutor.     Towar d th e en d whe n I wa s runnin g the

     investigation s - - o r th e Electio n Integrit y Division , I

     woul d generall y b e referrin g thes e case s t o other

     attorneys.     S o i f I sa w somethin g lik e this

     (indicating) , i t woul d probabl y no t eve n com e t o me.         I

     mean , i t woul d probabl y g o t o th e attorney , an d I would

     jus t kno w wha t th e basi c cas e i s fro m talkin g t o the

     prosecuto r an d th e investigator.

         Q.     Ca n yo u describ e t o m e th e divisio n o f labor

     betwee n yo u an d a lin e attorne y whe n receivin g an

     investigatio n an d determinin g i f - - t o mov e forwar d with

     th e prosecution?

         A.     Du e t o m y experienc e wit h thes e cases , I would

     generall y mak e a decisio n o f whethe r a cas e wa s worth

     goin g forwar d o n o r not , an d I coul d d o tha t fairly

     quickly.     An d the n I woul d refe r th e fil e t o the

     prosecuto r an d connec t hi m wit h th e investigator.

25       Q.      When did you become a supervisor?
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                                                                     Page 59
1    that.    I say my investigator, not really mine but our

2    investigator.

3        Q.     Was it before or after election day?

4        A.     I know some of this was going on in r ea l- time

5    prior to the election - - prior to voting day, but - - at

6    least that's my recollection.

7        Q.     So you're not sure whether the list was

8    provided before or after election day?

9        A.     I think I said it was before.

10       Q.     Okay.

11       A.     I'm pretty certain that it was before, and I

12   think it had to have been before because they were able

13   to not count most of the fraudulent votes that we had

14   found; although, a few had been counted.            So my

15   deduction would have been that that would have had to

16   have happened during the early voting period.

         Q.     S o yo u asser t tha t Dalla s Count y receive d and

     counte d fraudulen t ballot s fro m Mr . Mohamed.        Ho w did

     yo u com e t o tha t conclusion?

         A.     Tha t wa s - - I believ e tha t wa s tol d t o m e b y my

     investigator.

         Q.     Bu t yo u wer e no t perfec t - - personall y involved

     i n investigatin g an d makin g tha t determination?

         A.     No.     I di d no t g o t o Dalla s County , an d I

     didn' t tal k wit h th e familie s an d th e voter s myself.        I
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                                                                     Page 60
1    ma y hav e reviewe d som e electio n records , bu t I don't

2    hav e a specifi c memor y o f whic h one s I di d o r didn't.

3        Q.      Did your office issue public statements

4    describing these assertions that Dallas County received

5    and counted fraudulent ballots?

6        A.      Not to my knowledge.      And we typically wouldn't

7    do that during the pendency of an investigation.

8        Q.      Did your office include any of these assertions

9    in any public court filings?

10       A.      I don't believe we would have done that, no,

11   during the pendency of the investigation.

12                    MS. HUNKER:      Objection, form.

13       Q.      (BY MS. PAIKOWSKY)      In past testimony, you

14   suggested that fraud occurs this way with no awareness

15   or participation from the voter, and large scale

16   operations are both easier to detect than harvesting

17   operations that engage voters directly; is that correct?

18       A.      It's true - - I believe it's true that ballot

19   diversion schemes like the one that Mohamed performed

20   are easier to detect than boots on the ground, knock on

21   one door at a time, have an interaction with the voter,

22   yes, absolutely, because you have a large number of

23   ballots being sent to a single address.            That could be a

24   residential care facility.        It could be a multifamily

25   dwelling.     But Denton County in this case took it upon
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                                                                     Page 71
1    date, April 27, 2022.        Do you see that sticker there?

2         A.    Yes, ma'am.

3         Q.    All right.      And would you agree with me that

4    this is the chart that you produced that was current as

5    of April, 2022 regarding the pending and resolved

6    prosecutions?

7         A.    Yes, ma'am.

8         Q.    Okay.     G o ahea d an d tak e a loo k a t your

9    declaration , i f yo u would.     Thi s i s Depositio n Exhibit

     No . 2.

                        I n Paragrap h 3 o f you r declaratio n that's

     o n Pag e 1 , yo u sa y i n th e las t sentenc e - - an d tel l me

     i f I rea d thi s correctl y - - " I hav e reviewe d hundred s of

     investigations , an d handle d approximatel y 100

     prosecutions...."       D o yo u se e tha t there?

          A.    Yes , ma'am.

          Q.    Okay.     Doe s you r experienc e wit h th e hundreds

     o f investigation s an d approximatel y 10 0 prosecutions

     for m th e basi s o f you r knowledg e o f th e topic s tha t you

     testif y abou t i n you r declaration?

          A.    Certainl y a larg e portio n o f it.

22        Q.    Okay.     What outside of the investigations and

23   prosecutions form your knowledge for the topics that you

24   address in your declaration?

25        A.    Well, if I can reference my previous answers
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                                                                     Page 82
1    very specific thing that I thought might be


2    c h ar t - related that's Paragraph 16 at the top of Page 4

3    where you mention the number of election offenses and

4    individuals prosecuted.

5        A.    Oh, yeah.     Yes, ma'am, yes.       That would have

6    been another one that I would have had to review.                I

7    would have had a rough idea of that, but I would have

8    had to review the spreadsheet to narrow that time frame

9    from 2015 forward.

10       Q.    Did you review any case files in order to

11   prepare the declaration?

12       A.    No, ma'am.

         Q.   An d s o woul d i t b e fai r t o say , then , tha t the

     knowledg e tha t you'r e expressin g i n you r declaratio n is

     base d o n you r pas t exposur e t o document s and

     conversation s an d activitie s tha t yo u had?

         A.    I thin k that' s accurate.       It' s - - it' s an

     amalgamatio n o f 1 5 year s o f case s an d prosecution s and

     reviewing , yo u know , lot s o f electio n record s an d things

     lik e tha t an d al l o f th e thing s we'v e talke d about

     today , yes , ma'am.

22       Q.    At the very beginning of your declaration, you

23   say that - - and this is even before the numbered

24   paragraphs - - you're executing the declaration as part

25   of your assigned duties and responsibilities; is that
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                                                                     Page 85
 1   all of those cases, but I'm not sure.              And if you wanted

 2   me to run the numbers one way, I would definitely have

 3   to go the spreadsheet and try to - - and try to do that.

 4   Also, I'm not sure about the 18.            It could have been 20;

 5   it could have been 22.          I think it was 18, but don't

 6   hold me to that.

 7       Q.       Understood.      I' m no t goin g t o forc e yo u t o do

 8   th e mat h here.

 9                        Let' s loo k a t Paragrap h 8 o f your

     declaration.         Her e you'r e talkin g abou t election

     offenses , an d i n you r secon d sentence , yo u sa y wit h mail

     ballot s - - "Wit h mai l ballots , a vot e harveste r travels

     i n perso n t o whereve r th e vote r i s located , i n a nursing

     home , fo r example , o r a t th e voter' s home...."         D o you

     se e that?

         A.       Yes , ma'am.

         Q.       Okay.     D o yo u recal l identifyin g an y documents

     tha t provid e tha t informatio n whe n yo u wer e workin g on

     discover y productio n i n thi s case?

         A.       No , I don' t recall.

         Q.       D o yo u recal l whethe r an y document s wit h that

     informatio n wer e produce d b y Stat e Defendant s i n this

     litigation?

         A.       I hav e n o ide a wha t wa s produced.

25       Q.       Okay.     I'm going to ask you a series of very
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                                                                     Page 86
1   similar questions about the declaration.             So I hope you

2   don't become impatient if you have to repeat some of

3   your answers.

4        A.    No promises.

         Q.    M y nex t questio n i s als o i n Paragrap h 8 where

    yo u tal k abou t achievin g a n electio n offens e "by

    actuall y fillin g th e ballo t ou t fo r th e voter , or

    suggestin g t o th e vote r ho w the y shoul d vot e durin g the

    votin g process."     D o yo u se e tha t languag e there?

         A.    I do.    An d tha t wa s referencin g th e ensuring

    "tha t th e ballo t i s vote d fo r th e candidate " i n the

    prio r sentence.     Tha t wa s wha t th e "achieving " was

    about.

         Q.    D o yo u recal l identifyin g i n you r document s as

    par t o f you r wor k o n discover y productio n i n thi s case

    tha t hav e thos e specifi c fact s i n them?

         A.    I honestl y couldn' t sa y on e wa y o r th e other.

    It' s th e sam e answe r a s before.

         Q.    An d d o yo u kno w whethe r Stat e Defendants

    produce d an y document s wit h thos e specifi c fact s i n them

    abou t fillin g ou t th e ballo t fo r th e vote r o r suggesting

    t o th e vote r ho w th e vote r shoul d vote?     Wer e any

    document s lik e tha t produce d b y Stat e Defendant s i n the

    case?

         A.    I hav e n o idea.
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                                                                     Page 89
1   questions that may elicit a similar answer, but I still

2   have to ask them, okay?

3        A.    Yes, ma'am.

         Q.    Yo u mentione d i n Paragrap h 1 0 tha t "political

    operative s ma y transpor t voter s t o th e poll s an d assign

    th e vote r t o a n 'assistant ' wh o walk s the m throug h the

    votin g process , includin g physicall y enterin g th e votes

    o n th e votin g machine."     D o yo u se e that?

         A.    Yes , ma'am.

         Q.    D o yo u recal l identifyin g an y document s for

    productio n - - fo r discover y productio n i n thi s cas e that

    stat e thos e specifi c facts?

         A.    I don' t recal l tha t specifically , bu t that's

    somethin g tha t I'v e testifie d abou t i n fron t o f the

    Legislature.      An d i t doe s brin g a particula r cas e to

    mind , bu t it' s a civi l electio n contes t tha t I wasn't

    particularl y - - wasn' t personall y involve d in , bu t yes,

    ma'am.

         Q.    An d di d yo u - - d o yo u recal l identifyin g any

    document s relate d t o tha t civi l electio n contes t a s part

    o f th e discover y productio n i n thi s case?

         A.    I don' t remembe r on e wa y o r th e other.

         Q.   Okay.    Beyon d tha t on e civi l electio n contest,

    d o yo u recal l an y othe r document s tha t woul d stat e this

    specifi c fac t - - thes e specifi c facts?
Case 5:21-cv-00844-XR Document 747-25 Filed 09/01/23 Page 21 of 39


                                                                     Page 90
         A.    I don' t recal l documents.       The y ma y exist , but

    m y recollectio n i s base d o n generall y anecdote s tha t I

    migh t hav e spoke n wit h a n investigato r abou t o r just

    genera l memorie s o f a n investigatio n an d wouldn' t be

    tie d t o an y particula r document.

         Q.    Di d tha t investigatio n lea d t o a prosecution?

         A.    I wouldn' t b e abl e t o tel l yo u that.      I might

    di g aroun d th e memor y ban k an d mayb e com e u p with

    anothe r specifi c example , bu t tha t coul d tak e m e more

    tim e tha n w e hav e her e today.

         Q.    An d s o sittin g her e toda y yo u can' t thin k o f a

    specifi c prosecutio n relate d t o th e fact s state d i n this

    sentenc e regardin g assignin g a vote r t o a n assistan t and

    th e assistan t possibl y eve n physicall y enterin g the

    vote s o n th e votin g machine?

         A.    Well , ho w muc h tim e d o yo u have?

         Q.    I hav e time.     Doe s tha t mea n tha t yo u wan t to

    si t fo r a whil e an d thin k abou t it?

         A.    I mean , I coul d com e u p wit h anothe r exampl e if

    yo u wante d m e t o probably.

         Q.    An d woul d tha t exampl e b e a prosecution?

         A.    Possibly.     I remembe r a cas e i n Nuece s County

    wher e a candidat e himsel f wa s actuall y sor t o f attaching

    himsel f t o voter s an d takin g the m throug h th e voting

    proces s an d votin g - - well , votin g thei r ballot s - -
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                                                                     Page 91
                Wa s tha t - -

                - - although.

                G o ahead.       Pleas e finish.

                I t wa s a runof f election.       H e wa s th e onl y race

     o n th e ballot.    S o i t wa s a littl e bi t o f uniqu e facts.

     That' s probabl y wh y it' s standin g out.

                D o yo u mea n h e wa s th e onl y candidat e o n the

     ballot?

                Onl y race.       I t wa s a runof f betwee n hi m an d one

     othe r candidate.

                D o yo u kno w i f tha t resulte d i n a prosecution?

                I t di d resul t i n a prosecution , althoug h no t a

     successfu l one.     An d mistake s wer e made , an d lessons

     wer e learned.     I t wa s no t b y me , b y th e bay.

15       Q.     Okay.    Is that prosecution on your chart?

16       A.     Yes, ma'am.

17       Q.     Can you find it?

18       A.     I probably can, yeah.          I think we might have

19   talked about it last - - or in a previous deposition when

20   we went through a bunch of these cases or all of the

21   cases on the prosecution's resolve list that were asked

22   about.    I'm having trouble reading this.

23       Q.     It's a terrible copy.

24       A.     I think the defendant name might have been

25   Robert Gonzales, if that helps but, I'm having trouble
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                                                                     Page 92
1    finding it.

2         Q.      Okay.

3         A.      With that being a closed case, I can pretty

4    much talk freely about it if you have questions.

5         Q.      So besides Mr. Gonzales and the anecdote you

6    mentioned earlier, there would be records related to

7    Mr. Gonzales' p rosecution, would there not?

8         A.      There should be, yes.

9         Q.      Okay.      Do you recall producing those in

10   discovery?

11        A.      I - - no.     Again, I couldn't tell you one way or

12   the other.

13        Q.      Okay.

14        A.      I don't think those documents would have been

15   in my - - my custody because it was actually prosecuted

16   by an attorney from the criminal prosecutions division.

17   But I don't recall one way or the other, probably not,

18   though, from me.

          Q.      Okay.      Now , late r o n i n Paragrap h 10 , you

     mentio n assistanc e - - well , ". ..assistant s ma y latc h on

     t o a vote r a t th e pollin g location...."         D o yo u se e that

     ther e - -

          A.      I' m sorry.

          Q.      - - i n th e middl e o f th e Paragrap h 0?

          A.      No . 10?
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                                                                     Page 93
         Q.      Yes.


         A.      Yes , ma'am.   An d actuall y th e Gonzale s example

     woul d probabl y b e a bette r exampl e o f latchin g ont o a

     voter ; although , I d o believ e h e di d hav e somebod y he

     provide d transportatio n to , whic h kin d o f goe s int o the

     assigne d assistan t schem e whic h w e sa w i n th e South

     Texa s cas e wit h th e electio n contest.      An d w e actually

     ha d - - I thin k w e ha d thre e - - thre e prosecution s filed

     tha t cam e ou t o f tha t matte r whic h wer e pendin g a t the

     tim e tha t w e depose d last.

         Q.      Okay.

         A.      Bu t I believ e tha t thos e hav e sinc e been

     dismisse d du e t o th e rulin g i n Stephens.

         Q.      Okay.   An d d o yo u recal l identifyin g any

     document s fo r productio n containin g fact s that

     assistant s ma y latc h ont o a vote r a t th e polling

     location?

         A.      I don' t recal l on e wa y o r th e other , no , ma'am.

19       Q.      Okay.   Do you know whether any were produced in

20   this litigation?

21       A.      I have no idea what was produced.

         Q.      Okay.   Yo u mentio n a t th e botto m o f Paragraph

     1 1 tha t "vot e harvester s ar e usuall y pai d of f book " and

     tha t "the y ma y b e liste d o n campaig n report s as

     'canvassers, ' 'blockwalkers, ' 'GOTV'...'outreach, ' or
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                                                                     Page 94
     som e othe r euphemis m o r title."     I s tha t a correct

     readin g o f you r declaratio n there?

         A.    Yes , ma'am , i t is.

         Q.    Okay.    D o yo u recal l identifyin g an y documents

     fo r productio n i n thi s cas e tha t containe d thos e facts?

         A.    I d o no t recal l on e wa y o r th e other.

7        Q.    And do you recall whether any documents

8    containing those facts were turned over in discovery?

9        A.    I have no idea.

10       Q.    Okay.    Paragraph 12, you mention harvesters

11   will go through a neighborhood and sign up as many

12   people as possible for m a i l -in ballots.        Do you see that

13   there?

14       A.    Yes, ma'am.      And I think we discussed that in a

15   prior deposition in regard to the presentation that you

16   had a copy of that was given at a Secretary of State

17   elections conference, but, yeah, that's some general

18   information about the harvesting.

19       Q.    And besides that conference document, do you

20   recall identifying any documents that - - for discovery

21   production that contained those facts?

22       A.    I don't recall one way or the other.

23       Q.    And do you know if any documents like that were

24   turned over in discovery?

25       A.    I do not.
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                                                                     Page 95
         Q.     Paragrap h 1 3 mention s "harvester s ma y resor t to

    signin g u p young , a b l e- bodie d peopl e wh o d o no t qualify

    fo r mai l ballo t voting."       D o yo u se e tha t there?

         A.     Yes , ma'am.

         Q.     An d the n yo u g o o n t o giv e a n exampl e o f a

    case.     D o yo u se e that?

         A.     Yes , ma'am , I do.

         Q.     D o yo u recal l whethe r yo u turne d ove r - -

    whethe r yo u identifie d fo r productio n an y documents

    relate d t o tha t cas e tha t yo u mentione d i n that

    paragraph?

         A.     I d o no t recall , ma'am.

         Q.     D o yo u kno w i f an y material s wer e turne d over

    i n discover y i n thi s cas e relate d t o vot e harvesters

    signin g u p young , a bl e -bodie d peopl e wh o d o no t qualify

    fo r mai l ballo t voting?

         A.     I d o no t recal l - - o r d o no t hav e that

    knowledge.

         Q.     S o sinc e you'r e talkin g abou t a cas e here,

    woul d i t b e fai r t o sa y tha t ther e wa s a recor d o f that

    cas e i n you r offic e somewhere?

         A.     Ther e - - right.     Ther e woul d b e a recor d of

    tha t investigation , surely , certainly ; although , the

    investigatio n wa s referre d t o Greg g Count y DA' s Office

    fo r prosecution.      S o it' s possibl e the y hav e the
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                                                                     Page 96
1    origina l file , an d ther e coul d b e som e attorne y work

2    produc t relatin g t o ou r advisor y rol e i n tha t cas e from

3    a prosecutio n standpoint.       S o ther e coul d b e some

4    limite d document s o n th e prosecutio n side.

5        Q.    And similarly with respect to the election

6    contest that you mentioned earlier involving voter

7    assistants, there would be some documentation - - some

8    records in your office touching on that election

9    contest; is that right?

10       A.    Right.     There should be - - I think it would be

11   about the same answer.       There should be some limited - -

12   there should be some sort of i nvestigative file with

13   CID; although, as I recall, that was a fairly small

14   investigation -- fairly simple investigation because the

15   details had been hashed out and testimony had been

16   gathered in a civil election contest prior.             And then

17   the case was filed by Hidalgo County District Attorney's

18   Office who we were assisting with that case up until the

19   Stephens decision became final, and that case was

20   dismissed, I believe - - those three cases.

21       Q.    And then with respect to Mr. Gonzales over

22   there in Nueces County, there would be some records in

23   your office of the investigation and what it was he may

24   have done with respect to voter assistants; is that

25   right?
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                                                                 Page 105
1    question.

2        A.      Yes, ma'am.

3        Q.      In your paragraphs on Mohamed Zul, in Paragraph

4    21 in the last sentence, you're talking about SB1's

5    requirement of an ID number, I believe, and in the last

6    sentence, you say, "This security measure would have

7    prevented this fraud scheme entirely, and would have

8    stopped it early, at the application phase"; is that

9    right?

10       A.      Yes, ma'am.

11       Q.      And when you say "application," you mean

12   application for ballot by mail?

13       A.      Yes, ma'am.

         Q.    Wasn' t i t th e cas e tha t Mohame d Zu l ha d forged

     vote r registratio n application s fo r th e voter s fo r whom

     h e wa s seekin g mai l ballots?

         A.    Yo u ma y kno w mor e tha n I d o abou t that.        There

     wa s a lo t o f informatio n release d publicl y abou t this

     case , an d mayb e that' s wher e you'r e gettin g som e of

     that.    Th e onl y - - m y recollectio n wa s - - is

     application s fo r ballo t b y m a il- i n fo r mai l ballots , and

     I di d no t - - I wa s no t - - a s I si t her e today , I don't

     recal l a vote r registratio n component.        But , again , a

     lo t o f informatio n wa s release d publicly , an d s o tha t - -

     I won' t argu e wit h yo u i f tha t wa s th e case.
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                                                                  Page 106
         Q.     I f i t wa s th e cas e tha t Mohame d Zu l ha d forged

     vote r registratio n application s whic h di d contai n ID

     numbers , h e woul d hav e ha d th e I D number s tha t were

     require d fo r applicatio n fo r ballo t b y mail , mail

     ballot , unde r SB1 , correct?

                         MS . HUNKER:   Objection , form.

         A.     Well , assumin g h e ha d th e righ t number s to

     begi n wit h becaus e yo u hav e t o provid e a vali d I D number

     i n orde r t o ge t a registratio n throug h t o th e liv e check

     process.    S o t o th e exten t tha t an y vot e harveste r has,

     yo u know , PII , persona l identifyin g information , o f a

     voter , the y could , well , forg e a registration

     applicatio n an d th e followin g document s t o vote.

14        Q.    (BY MS. PERALES)        And - -

15        A.    If - -

16        Q.    I' m sorry.     Kee p going.

17        A.    Th e onl y thin g I wa s goin g t o ad d t o tha t is,

     I - - i t wasn' t m y understandin g tha t h e ha d those

     number s i n thi s cas e whic h i s wh y I wa s a littl e more

     categorica l abou t m y statemen t tha t i t woul d have

     stoppe d thi s scheme.      S o I'l l leav e roo m fo r yo u t o be

     correc t abou t th e vote r registratio n applications

     becaus e I kno w ther e wa s a lo t o f informatio n released

     publicl y abou t thi s case , no t b y u s bu t b y Denton

     County , perhap s som e others.       I wa s no t awar e o f that
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                                                                 Page 107
 1   fac t i f that' s true.


 2       Q.    I could be completely wrong about that, and,

 3   you know, sometimes you read something in the paper and

 4   it's not correct.      So - -

 5       A.    Well, that's true, also.

 6       Q.    Moving along, I wanted to ask if you reviewed

 7   any of the discovery responses in this case.             And I'm

 8   going to mark three of them for you - - actually I'm

 9   going to try to save time by marking all three and

10   giving them to you at once.

11                    (White Exhibit No. 7 marked.)

12       Q.    (BY MS. PERALES)       I'm handing you what has been

13   marked Deposition Exhibit 7.

14                    (White Exhibit No. 8 marked.)

15       Q.    (BY MS. PERALES)       I'm going to hand you what

16   has been marked as Deposition Exhibit 8.            Go ahead and

17   you take a look at these as I hand them to you.

18                    (White Exhibit No. 9 marked.)

19       Q.    (BY MS. PERALES)       I'm handing you now what has

20   been marked as Deposition Exhibit No. 9.

21                    So let's take a look at Deposition Exhibit

22   No. 7, and I'll represent to you that these are the

23   Attorney General's Objections and Responses to Private

24   Plaintiff's First Set of Requests For Production, dated

25   December 29.
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                                                                 Page 110
1    to pin down where they came from.          It's all right here

2    in my head (indicating).

3                     MS. PERALES:     I understand.       I object as

4    nonresponsive, and I'll try my question again.

         Q.     (B Y MS . PERALES)   Understandin g tha t you're

     testifyin g base d o n what' s i n you r hea d an d also

     understandin g tha t what' s i n you r hea d i s differently

     tha n what' s i n m y hea d becaus e we'v e ha d different

     experience s professionally , woul d i t b e fai r t o sa y that

     you r knowledg e - - th e knowledg e tha t inform s the

     testimon y o f you r declaratio n i s draw n a t leas t i n part

     fro m th e investigativ e an d prosecutio n cas e file s that

     you'v e bee n expose d t o ove r thes e year s tha t yo u have

     worke d i n you r uni t - -

15                    MS . HUNKER:    Objectio n - -

16        Q.    (B Y MS . PERALES)    - - o r division?

17                    MS . HUNKER:    Objection , form.

18        A.    I n part , sure.

19        Q.    (BY MS. PERALES)      I'm going to retrieve from

20   you Deposition Exhibit 7, if you don't mind.

21        A.    I think it's --

22        Q.    Where did it go?

23        A.    - - right here (indicating).

24        Q.    Oh, there it is.

25                    MS. PERALES:      And I'm going to take the
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                                                                 Page 116
1    preparing privilege logs.          Does this document help

2    refresh your recollection whether you were involved in

3    preparing privilege logs?

4        A.      It's the same as before.        I don't recognize the

5    document.     I didn't do any work on it.         If information

6    from me was used in preparation for this, I don't - - I

7    don't know about it.

8        Q.      Okay.     Do you happen to notice that in the

9    column which has sort of descriptive information - -

10   "Privilege Statement" is the column - - we see a lot of

11   entries for "Election complaint" - -

12       A.      Yes, ma'am.

13       Q.      - - on both the first page and the second page?

14   Would you agree with me?

15       A.      Yes, ma'am.

16       Q.      We don't really see entries for investigative

17   files; is that right?

18                       MS. HUNKER:    Objection, form.

19       A.      I'm not seeing investigation files.

         Q.   (B Y MS . PERALES)       Woul d i t b e fai r t o sa y that

     ther e ar e investigativ e file s i n th e Electio n Integrity

     Divisio n tha t woul d b e relevan t t o vote r fraud

     investigation s bu t ar e no t o n thi s privileg e log?

         A.   Relevan t t o investigations , yeah.         I thin k any

     investigativ e file s tha t CI D ha s woul d b e relevan t to
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                                                                  Page 117
1    vote r frau d investigation s tha t wer e vote r fraud

2    investigations , yes , ma'am.

3        Q.      Okay.     Thank you.    I'd like you to now refer to

4    Deposition Exhibit No. 4 if I can find it.              I believe I

5    have it here, and I'm going to hand it to you.              You

6    previously identified this Deposition Exhibit 4 as a

7    supplemental investigation report and then behind it an

8    investigation report; is that right?

9        A.      Yes, if we let the staple guide us through the

10   document.     If we flip it over, the report is on top, and

11   the supplement is behind it.

12       Q.      Oh, okay.      I understand.

13       A.      Yes, ma'am.

14       Q.      Got it.     Do you see one, two, three, four - -

15   five pages in from what I think is the back but might be

16   the front for you there is a page that contains a list

17   of exhibits?        Do you see that there?

18       A.      Does it say Page 16 at the top of the page?

19       Q.      Yes, it does.

20       A.      Yes, ma'am.

         Q.      Okay.     Ther e ar e 2 6 exhibit s here ; i s that

     correc t - - there' s a lis t o f 2 6 exhibits , yes?

         A.      Yes , ma'am.

         Q.      An d d o yo u understan d thes e t o b e exhibit s to

     th e investigatio n report?
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                                                                 Page 118
         A.     Yes , ma'am.


         Q.     D o yo u kno w i f thes e exhibit s wer e ever

     produce d i n discovery?

         A.     I hav e n o idea.

         Q.     Woul d thes e exhibit s typicall y b e considered

     par t o f th e investigativ e file?

         A.     Yes , ma'am.

 8                    MS. PERALES:      I'd like to go off the

 9   record for five minutes, if we could.

10                    MS. HUNKER:      Sure.

11                    MS. PERALES:      Thank you.

12                    THE REPORTER:      Off the record, 12:45 p.m.

13                    (BRIEF RECESS)

14                    THE REPORTER:      Back on the record, the

15   time is 12:53 p.m.

16                    MS. PERALES:      Thank you very much,

17   Mr. White.     I pass the witness.

18

19                              EXAMINATION

20   BY MS. HUNKER:

21       Q.     Mr. White, I just have a couple of questions

22   for you.     Can you please turn to Exhibit 5?

23       A.     Got it.

24       Q.     And can you please describe what this is?

25       A.     This is a spreadsheet of all resolved
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                                                                 Page 120
1   produced to opposing counsel?


2        A.     That's my understanding because we - - I was

3   questioned on it in the deposition on 4 - 7.

4        Q.     Did counsel introduce this spreadsheet as an

5   exhibit in the April deposition that you took?

6        A.     Yes, ma'am.

7        Q.     And that deposition took place in this case; is

8   that correct?

9        A.     Yes, ma'am.

         Q.     Durin g tha t deposition , di d counse l as k you

    question s abou t th e spreadsheet?

         A.     Yes.

         Q.     An d durin g you r deposition , di d counse l ask

    abou t th e case s tha t wer e liste d i n th e spreadsheet?

         A.     Yes.

         Q.     I n tha t deposition , di d counse l ru n throug h the

    case s the y identifie d a s bein g relevant?

         A.     Yes.

         Q.     I n you r deposition , di d counse l as k questions

    abou t th e detail s o n th e case s the y identifie d as

    relevant?

         A.     Yes , t o varyin g degrees.

         Q.     An d di d yo u answe r counsel' s question s fully?

         A.     Yes , I did.

         Q.     An d di d yo u provid e al l publi c information
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                                                                 Page 121
     abou t th e case s tha t counse l aske d abou t durin g your

     deposition?

         A.       T o th e exten t tha t I wa s asked , I did.

         Q.       An d di d yo u - - t o th e exten t tha t yo u were

     aske d durin g you r deposition , di d yo u provid e all

     informatio n abou t close d cases?

         A.       T o th e exten t tha t the y existe d o n the

     spreadshee t an d th e publicl y availabl e information , I

     did , yes.

10       Q.       In this deposition, did counsel ask you about

11   some of the cases identified in the spreadsheet?

12       A.       Yes, ma'am.

13       Q.       And did you answer fully and completely with

14   respect to those questions?

15       A.       Yes, ma'am.

16       Q.       You can put this document aside.           Can you

17   please turn to Exhibit 8?

18       A.       Got it.

19       Q.       And can you just read the title of the

20   document?

21       A.       Objections to the LUPE Plaintiffs' Second Set

22   of Requests for Production to Attorney General Kenneth

23   Paxton.

24       Q.       And if you turn the page, do you see the date

25   that this particular response/objections was served?
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                                                                 Page 126
 1                    I, JONATHAN WHITE, have read the foregoing

 2   deposition and hereby affix my signature that same is

 3   true and correct, except as noted above.

 4

 5                                       ___________________________

 6                                       JONATHAN WHITE

 7

 8   THE STATE OF TEXAS )

 9   COUNTY OF TRAVIS       )

10                    Before me, ___ _ ________ _____ __ ______, on

11   this day personally appeared JONATHAN WHITE, known to me

12   (or proved to me under oath or through __________________ )

13   (description of identity or other document) to be the

14   person whose name is subscribed to the foregoing

15   instrument and acknowledged to me that he/she executed

16   the same for the purposes and consideration therein

17   expressed.

18                    Given under my hand and seal of office

19   this _____ day of ________________, ____ _.

20

21                                       ___________________________

22                                       NOTARY PUBLIC IN AND FOR

23                                       THE STATE OF ______________

24                                       MY COMMISSION EXP.:________

25
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                                                                 Page 127
1    THE STATE OF TEXAS )

2    COUNTY OF TRAVIS       )

3                     I, LYDIA L. EDWARDS, a Certified Shorthand

4    Reporter in and for the State of Texas, do hereby

5    certify that the facts as stated by me in the caption

6    hereto are true; and that the above and foregoing

7    answers of the Witness, JONATHAN WHITE, were made before

8    by said Witness, after having been first administered an

9    oath or affirmation to testify to the truth, the whole

10   truth, and nothing but the truth, and the same were

11   reduced to computer transcription under my direction;

12   and that the above and foregoing deposition, as set

13   forth in computer transcription, is a full, true, and

14   correct transcript of the proceedings had at the time of

15   the taking of said deposition.

16                    I further certify that the amount of time

17   used for examination is as follows:

18             Dana Paikowsky                  - 1 hour,     25 minutes

19             Nina Perales                    - 1 hour,     27 minutes

20             Kathleen Hunker                 - 0 hours,     7 minutes

21                    I further certify that the costs to

22   prepare the original transcript of the deposition came

23   to $ __________ _.

24             I further certify that I am not in any capacity

25   a regular employee of the party on whose behalf this
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                                                                  Page 128
 1   deposition is taken, nor in the regular employ of any
 2   attorney; and I further certify that I am not interested
 3   in the cause, nor a kin or counsel to any of the
 4   parties.
 5                    GIVEN UNDER my hand and seal of office on
 6   this, the _____ day of August, 2023.
 7
 8
                            __________________________________
 9                          LYDIA L. EDWARDS
                            Certification No. 2567
10                          Expiration Date:       0 4 -3 0 -25
     JOB NO. 1016161
11
     MAGNA LEGAL SERVICES
12   1635 Market Street, Eighth Floor
     Seven Penn Center
13   Philadelphia, Pennsylvania        19103
     866.624.6221
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